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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater         *       MDL NO. 2179
   Horizon” in the Gulf of Mexico, on April        *
   20, 2010                                        *       SECTION J
                                                   *
This document relates to all actions.              *
                                                   *       HONORABLE CARL J.
                                                   *       BARBIER
                                                   *
                                                   *       MAGISTRATE JUDGE
                                                   *       SHUSHAN
                                                   *

Bon Secour Fisheries, Inc., et al., individually   *       Civil Action No. 12-970
and on behalf of themselves and all others         *
similarly situated,                                *       SECTION J
                                                   *
  Plaintiffs,                                      *
                                                   *       HONORABLE CARL J.
v.                                                 *       BARBIER
                                                   *
BP Exploration & Production Inc; BP                *       MAGISTRATE JUDGE
America Production Company; BP p.l.c.,             *       SHUSHAN
                                                   *
     Defendants.



     [PROPOSED] ORDER ON BP’S EMERGENCY MOTION FOR A PRELIMINARY
INJUNCTION AGAINST THE CLAIMS ADMINISTRATOR AND SETTLEMENT PROGRAM

        Upon consideration of BP’s Emergency Motion For A Preliminary Injunction Against

The Claims Administrator And Settlement Program To Enjoin Payments And Awards For

Business Economic Loss Claims Based On Fictitious “Losses,” the Memorandum and exhibits in

support of the motion, the opposition to the motion, and the entire record herein, it is HEREBY

ORDERED that BP’s motion is GRANTED as follows:
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       1.     The Claims Administrator and Settlement Program are ENJOINED from

implementing the Claims Administrator’s January 15, 2013 Policy Decisions regarding business

economic loss claims (the “BEL Policy Decisions”).

       2.     The Claims Administrator and Settlement Program are ENJOINED from issuing

or paying to claimants any determinations for business economic loss claims under the Economic

and Property Damages Settlement Agreement (“Settlement Agreement”) where the amount of

the determination depends, in whole or in part, on the BEL Policy Decisions.

       3.     The injunctions set forth in Paragraphs 1 and 2 shall remain in effect until the

conclusion of all claims administration under the Settlement Agreement.

[As an alternative to Paragraphs 1 and 2:]

       1.     The Claims Administrator and Settlement Program are ENJOINED from issuing

or paying to claimants in the agriculture, construction, professional services, real estate,

wholesale trade, manufacturing, and retail trade industries any determinations for business

economic loss claims under the Economic and Property Damages Settlement Agreement

(“Settlement Agreement”). The North American Industry Classification System (“NAICS”)

codes for these specified industries are all codes starting with 11 (except 114111, 114112,

114119, and 114210), 23, 31 (except 311711 and 311712), 32, 33, 42 (except 424460), 44, 45,

53, or 54.



       IT IS SO ORDERED.


       New Orleans, Louisiana, this ____ day of March, 2013.



                                                        United States District Judge
